          Case 1:18-cv-02921-JMF Document 401 Filed 10/24/18 Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------------- X
                                                                             :
STATE OF NEW YORK, et al.,                                                   :
                                                                             :
                                    Plaintiffs,                              :
                                                                             :   18-CV-2921 (JMF)
                  -v-                                                        :
                                                                             :       ORDER
UNITED STATES DEPARTMENT OF COMMERCE, et al., :
                                                                             :
                                    Defendants.                              :
                                                                             :
---------------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        It is hereby ORDERED that Plaintiffs’ motion for leave to present live direct testimony at
trial (Docket No. 386) is GRANTED in part and DENIED in part to the extent discussed, and for
the reasons given, on the record at the conference held today, October 24, 2018. Specifically, the
Court will permit the live direct testimony of Plaintiffs’ expert witnesses (including the
testimony of Dr. Salvo in its entirety), and of Dr. Abowd, (see Docket No. 393, at 2).

        It is further ORDERED that discovery in this case is extended to October 28, 2018 for
the limited purpose of Plaintiffs’ depositions of Mr. Gore, Mr. Langdon, Ms. Park-Su, and Mr.
Neuman.

        It is further ORDERED that any motion to compel Defendants to produce the two
documents provided to Mr. Gore from the Department of Commerce (see Docket No. 399, at 1)
shall be filed by tomorrow, October 25, 2018, at 10:00 a.m. Defendants shall file any response
the same day by 4:00 p.m.

         As discussed at the conference, the parties shall confer and propose extended deadlines
for filing deposition designations and any objections to such designations via joint letter to be
filed on ECF by October 26, 2018. The parties shall file any objections to proposed trial
exhibits by October 29, 2018, at 12:00 p.m.

        The Clerk is directed to terminate Docket No. 386.

        SO ORDERED.
Dated: October 24, 2018                                    __________________________________
       New York, New York                                            JESSE M. FURMAN
                                                                  United States District Judge
